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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )        8:04CR338
                      Plaintiff,              )
                                              )           ORDER
               vs.                            )
                                              )
MICHAEL J. HALL,                              )
                                              )
                      Defendant.              )



       IT IS ORDERED that the Change of Plea hearing is continued to November 29,
2005 at 9:15 a.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between October 27, 2005 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present unless excused by the
Court.

         DATED this 27th day of October, 2005.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
